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 8
     FEDERAL DEPOSIT INSURANCE CORPORATION, AS
 9   RECEIVER FOR SILICON VALLEY BANK

10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                        (OAKLAND DIVISION)
13

14   MICHAEL B. ROTHENBERG,                            Case No. 23-cv-01603-JST
15   an individual,
                                                       DEFENDANT AND CROSS-
16                                                     COMPLAINANT FEDERAL DEPOSIT
             Plaintiff and Cross-Defendant,            INSURANCE CORPORATION, AS
17                                                     RECEIVER FOR SILICON VALLEY
             vs.
                                                       BANK’S CASE MANAGEMENT
18                                                     STATEMENT
     FEDERAL DEPOSIT INSURANCE
19   CORPORATION, as receiver for Silicon
     Valley Bank, a corporation,
20                                                     CMC Date: November 26, 2024
                                                       Time: 2:00 p.m.
21           Defendant and Cross-Complainant.          Place: Via Zoom

22                                                     Honorable Jon S. Tigar
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     Defendant and Cross Complainant FDIC-R’s Case                              Case No. 23-cv-01603-JST
     Management Statement
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 1           Pursuant to the Order Continuing Case Management Conference [Dkt. 45], Defendant

 2   and Cross-Complainant Federal Deposit Insurance Corporation, as receiver for Silicon Valley

 3   Bank (“Defendant/Cross-Complainant” or “FDIC-R”) submits this Case Management Statement

 4   in advance of the Further Case Management Conference scheduled in this matter for November

 5   26, 2024 at 2:00 p.m.

 6           As an initial matter, the FDIC-R provides the following update to the Court regarding

 7   anticipated motion practice in this action. The FDIC-R plans to file one or both of the following

 8   motions: (1) a motion for sanctions, including but not limited to terminating sanctions, pursuant

 9   to Rule 37 for Plaintiff and Cross-Defendant Michael Rothenberg’s (“Mr. Rothenberg”) failure

10   to comply with Court orders regarding discovery; and (2) a motion for summary judgment or

11   partial summary judgment pursuant to Rule 56, based in part on the preclusive effect of Mr.

12   Rothenberg’s prior conviction for the same fraudulent conduct at issue in the FDIC-R’s claims

13   here. See Sec. & Exch. Comm’n v. Stein, 906 F.3d 823, 828 (9th Cir. 2018) (discussing

14   preclusive effect of criminal convictions in related civil proceedings). The FDIC-R is also

15   considering other options for resolution of this matter.

16           In addition, Mr. Rothenberg’s sentencing hearing in the related criminal matter (USA v.

17   Rothenberg, Case No. 4:20-cr-00266-JST), which was calendared for November 8, 2024, has

18   been vacated after Mr. Rothenberg’s attorney in the criminal matter withdrew as counsel of

19   record and Mr. Rothenberg was referred for the appointment of new counsel. A status

20   conference has been scheduled in the criminal matter for January 17, 2025. Accordingly, the

21   FDIC-R respectfully requests that this Court continue the Case Management Conference to

22   February 18, 2025, or a date thereafter, so that the Parties can discuss with the Court the effect

23   of Mr. Rothenberg’s sentencing on this matter. The FDIC-R has concurrently filed an

24   administrative motion requesting this continuance. [See Dkt. 46]

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     Defendant and Cross Complainant FDIC-R’s Case                                Case No. 23-cv-01603-JST
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 1   Dated: November 19, 2024                    PILLSBURY WINTHROP SHAW PITTMAN LLP

 2
                                                 By:  /s/ Laura C. Hurtado
 3                                               THOMAS V. LORAN III
 4                                               LAURA C. HURTADO
                                                 ALEKZANDIR MORTON
 5
                                                 Attorneys for Defendant and Cross-Complainant
 6                                               Federal Deposit Insurance Corporation, as Receiver
                                                 for Silicon Valley Bank
 7

 8

 9                                   CERTIFICATE OF SERVICE

10           I hereby certify that on the 19th day of November 2024, true and correct copy(ies) of

11   the foregoing document(s) was served via email to the following party:

12           Michael B. Rothenberg
             Email: mrothenberg@rothenberg.co
13                  svb@rothenberg.co
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                                                           Anna Lau
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     Defendant and Cross Complainant FDIC-R’s Case                              Case No. 23-cv-01603-JST
     Management Statement
